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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION

  UNITED STATES OF AMERICA                         §
                                                   §
        Plaintiff,                                 §
                                                   §
  v.                                               §        2:24-mj-00020-BR (1)
                                                   §
  NICKOLAS O’BRIEN (1)                             §
                                                   §
        Defendant.                                 §


       ORDER ON PRELIMINARY EXAMINATION AND DETENTION HEARING

        On today’s date, Defendant, NICKOLAS O’BRIEN, appeared in person and with counsel,

before the undersigned United States Magistrate Judge, for the purpose of a Preliminary

Examination and Detention Hearing. The United States appeared by and through the Assistant

United States Attorney for the Northern District of Texas.

        The Defendant waived the Preliminary Examination. The Court finds there is probable

cause to believe the defendant committed the offense as charged in the Complaint, and this case is

Ordered bound over for presentation to the Grand Jury.

        The government had previously filed a Motion for Pretrial Detention of the defendant

alleging there are no conditions of release that will reasonably assure the defendant’s appearance,

as required, nor the safety of any other person and the community.

        After consideration of the testimony, proffers and arguments presented at the detention

hearing, the Court finds the defendant is not a flight risk but that there are no conditions of release

available to ensure the safety of any other person and the community. Therefore, the defendant is

to remain in custody. The government’s Motion for Pretrial Detention is GRANTED.

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      Defendant, NICKOLAS O’BRIEN, is remanded to the custody of the United States

Marshal.

      IT IS SO ORDERED.

      ENTERED on March 14, 2024.



                                             ___________________________________
                                             LEE ANN RENO
                                             UNITED STATES MAGISTRATE JUDGE




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